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               IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

RAMONA ORELLANA, Individually
and on Behalf of A.O., a Minor,       Case No. 6:24-cv-00762-JSS-RMN

              Plaintiffs,

      v.

ROBLOX CORPORATION and
APPLE, INC.,

              Defendants.



DEFENDANTS ROBLOX CORP. AND APPLE, INC.’S JOINT MOTION FOR
     EXTENSION OF TIME TO RESPOND TO COMPLAINT and
  UNOPPOSED MOTION FOR PERMISSION TO EXCEED PAGE LIMIT
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      Defendants Roblox Corporation (“Roblox”) and Apple, Inc. (“Apple,”

collectively, “Defendants”), through counsel and pursuant to Local Rule 3.01(d),

hereby request (1) an extension of time to submit a joint Motion to Dismiss not

later than August 23, 2024, and (2) an enlargement of the otherwise applicable

page limitations to allow filing of a joint Motion to Dismiss of up to forty (40) pages

and an Opposition of equal length. Defendants conferred with Plaintiffs’ counsel

in an effort to reach agreement on this Motion, and while Plaintiffs’ counsel

consents to the requested page enlargement, they oppose the requested extension.

                            MEMORANDUM OF LAW

      Plaintiffs filed their Complaint (Dkt. No. 1) on April 24, 2024.            The

Complaint totals 115 pages and nearly 600 paragraphs and contains thirteen

causes of action, ranging from product liability claims to infliction of emotional

distress to fraud and conspiracy claims. Roblox filed a waiver of service on May

21, 2024; Apple was served only on July 5, 2024. The deadline for Roblox’s answer

or other responsive pleading is July 14, 2024. Apple’s deadline is July 26, 2024. In

an effort to reduce duplication in argument, Defendants plan to move jointly to

dismiss all claims.

      Given the length and complexity of the Complaint, Defendants cannot

adequately address all of Plaintiffs’ allegations within the page limit imposed by

Local Rule 3.01(d). The additional pages will allow Defendants to present a


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thorough argument that Plaintiffs’ claims lack grounding in facts or law and

should be dismissed.

      Defendants also request additional time to respond to the Complaint due

both to its length and complexity and to competing scheduling constraints caused

by the volume of related, pending suits raising similar issues and vacation

schedules. This case is one of over a dozen similar complaints, most filed by

Plaintiffs’ counsel, against Defendants and other parties. See In Re: Video Game

Addiction Products Liability Litigation, MDL No. 3109 (J.P.M.L. June 5, 2024)

(denying order to centralize litigation). Recently, Defendants agreed to briefing

schedules in several of those cases, including Jameson v. Roblox Corp. et al, No. 0:24-

cv-01602-JMB-TNL (D. Minn.) (motion to dismiss due Aug. 5, 2024) and Broussard

v. Microsoft Corp. et al, No. 1:24-cv-01697 (N.D. Ga.) (motion to dismiss due Aug.

15, 2024). Plaintiffs’ counsel is also counsel in Broussard. The extension requested

is intended to enable Defendants to meet those deadlines and to allow Defendants

to collaborate on a joint motion to this Court, rather than submit motions

separately, which should reduce redundancy in the parties’ briefing. In addition,

one of principal counsel for Roblox will be abroad on vacation and business travel

from July 21 through August 1, creating additional challenges in coordination.

      Plaintiffs’ counsel has consented to the requested page enlargement but not

to the extension of time, instead offering Roblox an extension of only eight days,


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until July 22, 2024, which is before Apple’s due date. In essence, Plaintiff’s position

would either foreclose the filing of a joint Motion to Dismiss or require Apple to

respond prior to its otherwise applicable response date, which is not feasible.

      Defendants are sensitive to the importance of expedition and do not make

this request for the purpose of delay or from other improper motive. Defendants

believe that the additional time is necessary, given the calendars in the other

matters and to allow both Defendants time to coordinate and to prepare a joint

motion that will enable the parties to present the issues to this Court in a more

efficient and straightforward manner.

                                  CONCLUSION

      Based upon the foregoing, Defendants respectfully request that the Court

grant them leave to file a Joint Motion to Dismiss not to exceed forty (40) pages in

length by no later than August 23, 2024. Plaintiffs’ Opposition to the Joint Motion

to Dismiss shall also not exceed forty (40) pages in length.

                     LOCAL RULE 3.01(g) CERTIFICATION

      Pursuant to Local Rule 3.01(g), the undersigned hereby certifies that counsel

for Defendants have conferred via email with Plaintiffs’ counsel regarding the

relief requested herein.      The parties have agreed to the requested page

enlargements. However, Plaintiff’s counsel rejected Defendants’ request for an

extension of time until August 23, 2024, to respond to the Complaint.


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Dated: July 10, 2024                   Respectfully submitted,


                                      /s/ T. Todd Pittenger
                                      T. Todd Pittenger – Lead Counsel
                                      Florida Bar No. 768936
                                      todd.pittenger@gray-robinson.com
                                      GRAYROBINSON, P.A.
                                      301 East Pine Street, Suite 1400
                                      Orlando, FL 32801
                                      Tel.: (407) 843-8880

                                      Attorneys for Defendant
                                           ROBLOX CORPORATION


                                       /s/ Jonathan Kaskel
                                       Jonathan Kaskel – Lead Counsel
                                       Florida Bar No. 52718
                                       DENTONS US LLP
                                       1 Alhambra Plaza, Penthouse
                                       Coral Gables, FL 33134
                                       Tel.: (305) 537-0009
                                       jonathan.kaskel@dentons.com

                                       Attorneys for Defendant APPLE, INC.


                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on July 10, 2024, a copy of the

foregoing was served electronically, via CM/ECF, on all counsel of record who are

deemed to have consented such service under the Court’s local rules.

                                     By: /s/ T. Todd Pittenger




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